  Case 5:22-cv-00396-GLS-ML Document 12 Filed 06/24/22 Page 1 of 3




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
ROBERT W. JOHNSON,

                         Plaintiff,                     5:22-cv-396
                                                        (GLS/ML)
                  v.                                    (Lead Case)

RODEWAY INN SYRACUSE et al.,

                         Defendants.
APPEARANCES:                               OF COUNSEL:

FOR THE PLAINTIFF:
Robert W. Johnson
Pro Se
112 Court St.
Apt. 2
Watertown, NY 13601

Gary L. Sharpe
Senior District Judge

                                      ORDER

      The above-captioned matter comes to this court following a Report-

Recommendation (R&R) by Magistrate Judge Miroslav Lovric, duly filed June

1, 2022. (Dkt. No. 8.) This lead case was previously consolidated with

nineteen others. (Dkt. No. 7.) Following fourteen days from the service of the

R&R, the Clerk has sent the file, including any and all objections filed by the

parties herein.
  Case 5:22-cv-00396-GLS-ML Document 12 Filed 06/24/22 Page 2 of 3




       No objections1 having been filed, and the court having reviewed the

R&R for clear error, it is hereby

       ORDERED that the Report-Recommendation (Dkt. No. 8) is ADOPTED

in its entirety; and it is further

       ORDERED that plaintiff is directed to file a notice of change of address

or verify his address on the docket within thirty (30) days of this order; and it is

further

       ORDERED that plaintiff’s complaints in the lead and member cases

(Johnson I-XX) are DISMISSED with leave to replead for failure to state a

claim upon which relief may be granted pursuant to 28 U.S.C.

§ 1915(e)(2)(B); and it is further

       ORDERED that any amended complaint shall be filed within thirty (30)

days of this order; and it is further

       ORDERED that, if plaintiff files an amended complaint, it must set forth

a short and plain statement of the facts on which he relies to support any legal

claims asserted. Fed. R. Civ. P. 8(a). In addition, the amended complaint


          1
         On June 2, 2022, plaintiff appeared at the Clerk’s Office in Syracuse, New York and
was provided a copy of the Consolidation Order and Report and Recommendation. (Dkt. Nos.
7-8.) That same day, plaintiff filed a notice of interlocutory appeal. (Dkt. No. 9.) On June 13,
2022, plaintiff’s copy of the R&R was returned to sender, “Attempted - Not Known.” (Dkt. No.
11.) Plaintiff previously executed a pro se notice that warned he must immediately notify the
court of any change of address and that his failure to do so could “result in the involuntary
dismissal of [his] case for failure to prosecute.” (Dkt. No. 6); N.D.N.Y. L.R. 10.1(c)(2).

                                               2
  Case 5:22-cv-00396-GLS-ML Document 12 Filed 06/24/22 Page 3 of 3




must include allegations reflecting how the individuals named as Defendants

are involved in the allegedly unlawful activity. Finally, plaintiff is informed that

any such amended complaint will replace the existing complaints in Johnson

I-XX, and must be a wholly integrated and complete pleading that does not

rely upon or incorporate by reference any pleading or document previously

filed with the court; and it is further

      ORDERED that, if plaintiff files an amended complaint, such proposed

amended complaint will be referred to the Magistrate Judge for initial review;

and it is further

      ORDERED that, if plaintiff fails to file an amended complaint within the

time permitted, the clerk is directed to close this case and the member cases

without further order of the court; and it is further

      ORDERED that the Clerk provide a copy of this Order to plaintiff in

accordance with the Local Rules of Practice.

IT IS SO ORDERED.

June 24, 2022
Albany, New York




                                          3
